Case 8:16-cv-00262-AG-JCG Document 518 Filed 04/25/19 Page 1 of 5 Page ID #:26717




   1    COAST LAW GROUP LLP
        HELEN I. ZELDES (220051)
   2    helen@coastlaw.com
   3    ANDREW J. KUBIK (246902)
        andy@coastlaw.com
   4    BEN TRAVIS (305641)
        ben@coastlaw.com
   5    1140 S. Coast Highway 101
   6    Encinitas, California 92024
        Telephone: 760-942-8505
   7    Facsimile: 760-942-8515
   8    Co-Lead Class Counsel
        [Additional counsel listed on signature page]
   9
                            UNITED STATES DISTRICT COURT
  10
            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  11
  12    IN RE: TOLL ROADS LITIGATION                Case No.: 8:16-cv-00262 AG (JCGx)
        PENNY DAVIDI BORSUK; DAVID
  13    COULTER; EBRAHIM E. MAHDA;
        TODD QUARLES; TODD                          PLAINTIFFS’ REQUEST TO LIFT
  14    CARPENTER; LORI MYERS; DAN                  STAY FOLLOWING NINTH
  15    GOLKA; and JAMES WATKINS on                 CIRCUIT’S DENIAL OF
        Behalf of Themselves and All Others         DEFENDANTS’ 23(F) AND 1292(B)
  16    Similarly Situated,                         REQUESTS
  17                 Plaintiffs,
              v.
  18                                                Judge: Hon. Andrew J. Guilford
  19    FOOTHILL/EASTERN                            Courtroom: 10D
        TRANSPORTATION CORRIDOR                     Complaint Served: Jan. 15, 2016
  20    AGENCY; SAN JOAQUIN HILLS                   Removed: Feb. 16, 2016
        TRANSPORTATION CORRIDOR
  21    AGENCY; ORANGE COUNTY
  22    TRANSPORTATION AUTHORITY;
        3M COMPANY; BRiC-TPS LLC;
  23    RHONDA REARDON; MICHAEL
        KRAMAN; CRAIG YOUNG; SCOTT
  24    SCHOEFFEL; ROSS CHUN;
        DARREL JOHNSON; LORI
  25    DONCHAK; WILLIAM P. DUFFY;
  26    COFIROUTE USA, LLC; and DOES
        3-10, inclusive,
  27
                     Defendants.
  28
       PLAINTIFFS’ REQUEST TO LIFT STAY FOLLOWING 9TH CIR
       DENIAL OF DEFENDANTS' 23(F) AND 1292(B) REQUESTS     Case No. 8:16-cv-00262 AG (JCGx)
Case 8:16-cv-00262-AG-JCG Document 518 Filed 04/25/19 Page 2 of 5 Page ID #:26718




   1         Plaintiffs Penny Borsuk, David Coulter, Ebrahim Mahda, Todd Quarles, Todd
   2   Carpenter, Lori Myers, Dan Golka, and James Watkins (collectively, “Plaintiffs”),
   3   through their respective attorneys of record, hereby submit the following Request to
   4   Lift Stay Following the Ninth Circuit’s Denial of Defendants’ 23(f) and 1292(b)
   5   Requests for Review.
   6         UPDATE ON DEFENDANTS’ APPEAL TO THE NINTH CIRCUIT
   7         On April 24, 2019, the Ninth Circuit denied Defendant 3M’s Petition for
   8   Permission to Appeal this Court’s Class Certification Order, holding: “The court, in
   9   its discretion, denies the petition for permission to appeal the district court’s October
  10   3, 2018 order granting class action certification.” See Ninth Circuit Order Dated April
  11   24, 2019, attached as Exhibit 1. The Ninth Circuit also denied Defendants’ request
  12   for 28 U.S.C.§1292(b) review notwithstanding Defendants setting forth their
  13   arguments about how this case involves issues of first impression as to the meaning
  14   of Streets and Highways Code §31490, the types of transmissions at issue and the
  15   amount of the damages for each type of transmissions (alleging certification of the
  16   class creates a “death knell” for them). See 3M Petition at pp. 10, 15-18, 24, attached
  17   as Exhibit 2.
  18         Specifically, 3M (and all the other Defendants who joined in 3M’s petition),
  19   argued:
  20         This is the first case ever brought under § 31490. Both in its class
  21         certification order and at subsequent hearings, the district court repeatedly
  22         emphasized that the issues underlying Plaintiffs’ § 31490 claims warrant
  23         immediate appellate review under 28 U.S.C. § 1292(b). (See Exhibit 1, at
  24         20.) The court declared that the issues are “significant, complex, unclear
  25         under state law.” (Dkt. 496; Sept. 24, 2018 Hrg. Tr. At 5:1-3.) Later, the
  26         court reiterated: “I think this case has sufficient complexity through no fault
  27         of the parties where a 1292(b) appeal is appropriate.” (Dkt. 502; Oct. 1, 2018
  28         Hrg. Tr. at 7:1-3.)
       PLAINTIFFS’ UPDATE ON 9TH CIR DENIAL OF 3M PETITION    Case No. 8:16-cv-00262 AG (JCGx)
                                                                                             2
Case 8:16-cv-00262-AG-JCG Document 518 Filed 04/25/19 Page 3 of 5 Page ID #:26719




   1         Consistent with the district court’s statements, 3M is moving the district
   2         court to certify its orders for interlocutory review under 28 U.S.C. §
   3         1292(b). If the court does so, this Court should grant the § 1292(b) petition
   4         and consolidate it with this appeal so the Court can address all issues at once.
   5         Granting a Rule 23(f) petition in parallel with a § 1292(b) petition is a highly
   6         effective way to streamline proceedings because it allows the Court to
   7         “clarify some imprecision in the case law, while at the same time giving the
   8         parties (and the lower court) a better sense as to which aspects of the class
   9         certification might reasonably be open to subsequent reconsideration.”
  10         Waste Mgmt. Holdings, Inc. v. Mowbray, 208 F.3d 288, 295 (1st Cir. 2000)
  11         (granting Rule 23(f) review); see also Tilley v. TJX Cos., Inc., 345 F.3d 34,
  12         39 (1st Cir. 2003) (granting Rule 23(f) review because the parties “have fully
  13         briefed the merits, and postponing a decision would be wasteful”).
  14   Exhibit 2 at 24-25 (emphasis added).
  15          To which the Ninth Circuit unequivocally responded, “To the extent that
  16   petitioner seeks relief under 28 U.S.C. §1292(b), petitioner’s request is denied. Any
  17   pending motions are denied as moot.”
  18         All other Defendants joined in 3M’s petition and did not file separate requests.
  19   There being no other appeals pending, and the Ninth Circuit denying 3M’s request to
  20   hear their contemplated §1292(b) motion (or to provide §1292(b) relief), Plaintiffs
  21   respectfully request that this Court lift the stay in this matter and set a status
  22   conference to take place on May 13, 20191, or as soon as is practicable, to set dates
  23   for the hearings on Plaintiffs’ Motion for Approval of Class Notice Plan, and to reset
  24   the Trial date.
  25
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  27   1
        The Parties will be appearing before this Court on May 13, 2019, in the Associated
  28   Industries Insurance matter for a hearing on Plaintiffs’ and TCA’s Motions to Stay.
       PLAINTIFFS’ UPDATE ON 9TH CIR DENIAL OF 3M PETITION    Case No. 8:16-cv-00262 AG (JCGx)
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Case 8:16-cv-00262-AG-JCG Document 518 Filed 04/25/19 Page 4 of 5 Page ID #:26720




   1                                           Respectfully submitted,

   2                                           COAST LAW GROUP LLP
        Date:   April 25, 2019
   3                                           HELEN I. ZELDES (220051)

   4                                           By: /s/ Helen I. Zeldes
   5                                                 Helen I. Zeldes

   6                                           helen@coastlaw.com
   7                                           1140 S. Coast Highway 101
                                               Encinitas, California 92024
   8                                           Telephone: 760-942-8505
   9                                           Facsimile: 760-942-8515
  10                                           Co-Lead Class Counsel
  11
                                               LINDEMANN LAW FIRM, APC
  12    Date:   April 25, 2019                 BLAKE J. LINDEMANN (255747)

  13
                                               By: /s/ Blake J. Lindemann
  14                                                 Blake J. Lindemann
  15
                                               blake@lawbl.com
  16                                           433 N. Camden Drive, 4th Floor
  17                                           Beverly Hills, CA 90210
                                               Telephone: 310-279-5269
  18                                           Facsimile: 310-300-0267
  19                                           Co-Lead Class Counsel
  20    Date:   April 25, 2019
                                               CUNEO GILBERT & LADUCA LLP
  21                                           MICHAEL J. FLANNERY (196266)
  22
                                               By: /s/ Michael J. Flannery
  23                                                 Michael J. Flannery
  24
                                               mflannery@cuneolaw.com
  25                                           7733 Forsyth Boulevard, Suite 1675
  26                                           Clayton, MO 63105
                                               Telephone: (314) 226-1015
  27                                           Facsimile: (202) 789-1813
  28                                           Co-Lead Class Counsel
       PLAINTIFFS’ UPDATE ON 9 CIR DENIAL OF 3M PETITION
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                                                           Case No. 8:16-cv-00262 AG (JCGx)
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Case 8:16-cv-00262-AG-JCG Document 518 Filed 04/25/19 Page 5 of 5 Page ID #:26721




   1   Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), the above-listed filing attorney
       certifies that all other signatories listed, and on whose behalf this filing is submitted,
   2
       concur in this filing’s content and have authorized its filing.
   3
   4
        Date:   April 25, 2019                    By: /s/ Helen I. Zeldes
   5
                                                        Helen I. Zeldes
   6
                                                  1140 S. Coast Highway 101
   7                                              Encinitas, California 92024
   8                                              Telephone: 760-942-8505
                                                  Facsimile: 760-942-8515
   9
  10                                              Co-Lead Class Counsel

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       PLAINTIFFS’ UPDATE ON 9TH CIR DENIAL OF 3M PETITION     Case No. 8:16-cv-00262 AG (JCGx)
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